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        CONTINUATION OF APPLICATION FOR SEARCH WARRANT

       1.     I, Margaret O’Brien, am a Special Agent with the Federal Bureau of

Investigation. I have been so employed since approximately January 2019.

       2.     I am currently assigned to FBI’s Organized Crime/Criminal Enterprise

Squad in Chicago, Illinois, and my responsibilities include the investigation of

criminal violations of federal laws, including wire fraud.

       3.     This continuation is made in support of (1) an application for a warrant

to search the single family home and barn located at 9169 E. Hoxie Rd, Cedar, MI,

49621 described further in Attachment A-1 (the “Subject Premises”), and (2) an

application for a warrant to search the person of DONALD HENKEL, as further

described in Attachment A-2, for evidence, instrumentalities, and fruits described

further in Attachments B-1 and B-2, respectively, concerning mail and wire fraud

offenses, in violation of Title 18, United States Code, Sections 1341 and 1343.

       4.     The statements in this continuation are based on my personal

knowledge, and on information I have received from other law enforcement personnel

and from persons with knowledge regarding relevant facts. 1 Because this

continuation is being submitted for the limited purpose of securing a search warrant,

I have not included each and every fact known to me concerning this investigation. I

have set forth facts that I believe are sufficient to establish probable cause to believe




1 In particular, I have discussed the aspects of this investigation involving sports memorabilia
fraud with an FBI special agent who has been investigating fraud related to sports
memorabilia for approximately 20 years, and who has significant training and experience in
identifying counterfeit and fraudulent sports memorabilia.
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that evidence, instrumentalities, and fruits of violations of Title 18, United States

Code, Sections 1341 and 1343, are located at 9169 E. Hoxie Rd, Cedar, Michigan

(Subject Premises).

I.     FACTS SUPPORTING PROBABLE CAUSE TO SEARCH

       A.    Summary of Probable Cause

       5.    The FBI has been investigating a scheme to fraudulently sell forged

paintings. The forged paintings were sold, or attempted to be sold, between March

2016 and the present.

       6.    To date, the FBI identified eight probable forged paintings related to the

scheme. Five of the eight paintings purport to be previously unknown works of George

Ault, an American artist active through the 1940s. Two of the paintings purport to be

previously unknown works by Ralston Crawford, an artist with a similar precisionist

style to Ault and active through the 1970s. The remaining painting purports to be by

Gertrude Abercrombie, an American artist with a surrealist style also active through

the 1970s.

       7.    As set forth in more detail below, one of the paintings has been

scientifically examined and determined, based on the materials present in the

painting, that it could not have been painted when the painting was dated.

       8.    Based on information gathered thus far, it is believed that DONALD

BRUCE HENKEL, also known as DONAVAN BRUCE KELLY worked with

Catherine Allen, located in Florida, William Eatinger, located in California, Patrick

Gravel, located in Virginia, and Raymond Paparella, located in Florida, in a scheme
                                          2
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to voluntarily and intentionally defraud Victim 1, Victim 2, and an attempt to defraud

Victim 3. In particular, as explained in more detail below, HENKEL and Catherine

Allen, whom he supports financially, have received the majority of the proceeds from

the paintings that were successful sold, despite having no known legitimate

connection to the sales.

      9.     As set forth in more detail below, HENKEL resides at the Subject

Premises and has used the Subject Premises to conduct business related to the

fraud scheme. For example, as explained in more detail below, HENKEL shipped an

item suspected to be a fraudulent painting to Paparella and listed the return address

as the Subject Premises. FBI has recovered trash from the premises, and recovered

items consistent with HENKEL making paintings and sports memorabilia 2 at the

Subject Premises.

      10.    As explained below, HENKEL used a telephone assigned (231) 342-3018

(the “HENKEL Phone”) to exchange text messages related to the attempted sale of a

likely forged painting. On or about June 10, 2020, pursuant to a court order, the FBI

began receiving location information for the HENKEL Phone. As explained below,

that location information is consistent with the HENKEL Phone being kept by

HENKEL at the Subject Premises.




2As set forth in more detail below, HENKEL also appears to be involved in counterfeiting
sports memorabilia.
                                           3
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      B.    DONALD HENKEL uses the HENKEL Phone

      11.   According to Verizon records, the HENKEL Phone has been in service

since September 16, 2016. Verizon advised user information is held by TracFone

Wireless, Inc., a pre-paid, no contract vendor, and no subscriber information is

available. However, according to a bank record dated March 26, 2019, this telephone

number was provided by DONALD BRUCE HENKEL on his signature card for a

Chemical Bank account ending in 9410.

      12.   As explained below, the HENKEL Phone has been in contact with each

of the suspected co-schemers including telephone number 386-290-7196, used by

Catherine Allen, telephone number 734-604-5293, used by Patrick Gravel, telephone

number 909-725-7886, used by William Eatinger, and telephone number 561-699-

9219, used by Raymond Paparella.

      C.    HENKEL uses multiple bank accounts, one of which is
            consistent with the Subject Premises

      13.   According Chemical Bank records, the account ending in 9410 is owned

by DONAVAN B KELLY, DBA DB HENKEL & DON HENKEL, at an address in

Traverse City, Michigan.

      14.   According to a bank signature card, dated March 26, 2019, the account

ending in 9410 is owned by an individual with the name DONALD BRUCE HENKEL

at the Subject Premises. The employer name is listed as “Retired artist.” The

account lists a Michigan driver’s license number for which, according to Michigan

Secretary of State records, the information matches the information provided to the

                                        4
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bank. The address listed on the driver’s license is the Subject Premises. HENKEL’s

license lists his height as 6’4”, and his eye color as green.

      15.    According to Chemical Bank records, the account ending in 1618 is a

sole proprietorship business account, with account owner’s name DONAVAN B

KELLY, DBA DB HENKEL & DON HENKEL, at an address in Traverse City,

Michigan. The tax ID matches the tax ID on HENKEL’s account ending in 9410.

However, a different driver’s license is associated with this account, in the name of

DONAVAN BRUCE KELLY.

      16.     According to Michigan Secretary of State records, the information

provided to the bank matches the information on a driver’s license in the name of

DONAVAN BRUCE KELLY. I have compared this to the Michigan driver’s license in

the name of HENKEL associated with the account ending in 9410. Based on my

training and experience, the photograph on DONAVAN BRUCE KELLY’s driver’s

license appears to be a photograph of a younger DONALD HENKEL. Both licenses

list his height as 6’4”, and his eyes as green.

      D.     HENKEL sold paintings purportedly by Ralston Crawford,
             George Ault and Gertrude Abercrombie

             1.     HENKEL sold a purported Ralston Crawford painting for
                    $325,000 through Victim 1 in May 2016

      17.    According to records provided by Representative A of Victim 1, in or

around March 2016, HENKEL contacted a representative of Victim 1 by e-mail

regarding the sale of a painting purportedly by Ralston Crawford. According to an

interview of Representative B of Victim 1 on November 19, 2019, HENKEL provided
                                            5
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provenance information verbally to Representative B of Victim 1. HENKEL claimed

that the painting was originally gifted from the artist to Henry Hotz, Jr., Dean of

Arts, Pennsylvania Academy of Fine Arts, who then gifted it to Stanley Smith of

Philadelphia, Pennsylvania. It was then bequeathed to Dorothy Wells of Cincinnati

who bequeathed it to HENKEL.

      18.   In a January 8, 2020 interview with the Representative B of Victim 1

that worked directly with HENKEL, the representative stated that HENKEL

provided an address in Ann Arbor, Michigan as his own. Representative B of Victim

1 retrieved the painting from this address. According to public records retrieved

through an open-source database, this address is owned by Mark Henkel and Patricia

Gravel-Henkel.

      19.   According to records provided by Representative B of Victim 1, Victim 1

sold the painting at auction on May 25, 2016 to Victim 3. According to records

provided by Representative B of Victim 1 and separate bank records, on June 27,

2016, Victim 1 made a wire transfer for $299,000 to HENKEL’s Chemical Bank

account ending in 1618.

            2.     HENKEL sold a painting purportedly by George Ault to
                   Victim 2 and Individual A in August 2017 for $200,000

      20.   According to e-mail records provided by Victim 2, in or around February

2017, HENKEL worked through an art dealer, Individual A, to consign a painting

through Victim 2. Ultimately, as explained below, Victim 2 purchased the painting

from HENKEL rather than selling it on his behalf.

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          21.   Individual A contacted Victim 2 regarding selling a painting purportedly

by George Ault titled “The Homestead” on behalf of his client, whom Individual A

later referred to as D.B. HENKEL. Victim 2 estimated that the painting would sell

for between $475,000-$500,000, less a 30% commission split equally between Victim

2 and Individual A.

          22.   According to a May 20, 2020 interview with Victim 2, typically, as part

of an initial conversation about the painting, Victim 2 would obtain a general

provenance of the painting prior to agreeing to consign the painting, and later request

the provenance in writing. According to e-mail records provided by Victim 2,

Individual A sent Victim 2 the provenance for the piece in an e-mail dated March 8,

2017: 3

          It descended in the family from my client’s great uncle, who he
          remember meeting once when he was a boy. It seems there was little
          contact after that with this part of the family, but somehow this painting
          was left to his mother and then given to him at or about her death. He
          is not sure if his great uncle did truly receive this as a Christmas present
          from Judson Smith, but it is a possibility given the proximity of where
          he lived and apparently he did have other paintings and antiques in his
          home in Albany. The last I am just assuming, given Judson Smith’s
          relationship with the Woodstock artists community, the date of the
          painting and the date of the gift

          23.   Based on information from Victim 2, Victim 2 initially agreed to consign

the painting. The dates of consignment were March 7, 2017 through September 7,

2017.




3   All quoted e-mails are set forth without any corrections for grammar or spelling.
                                                7
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      24.    According to bank records, on March 21, 2017, Individual A wrote

HENKEL a check for $10,000 with the description “payment in advance on George

Ault consignment.” According to bank records, on July 14, 2017, Individual A wrote

HENKEL a check for $5,000 with the description “Ault [ illeigble ]”. According to e-

mail records provided by Victim 2, on July 28, 2017, Individual A sent Victim 2 an e-

mail suggesting that if the painting was not sold soon, HENKEL would be open to

any offer from Victim 2 to buy the painting outright and noting that Individual A had

already extended HENKEL $15,000.

      25.     According to e-mail records provided by Victim 2, on August 4, 2017,

Individual A sent Victim 2 an e-mail indicating that his client wanted the payment

for the painting wired into two separate accounts. According to records provided by

Victim 2, and separate bank records, on August 8, 2017, Victim 2 wired $110,000 to

HENKEL’s Chemical Bank account ending in 1618, and made a second transfer of

$75,000 to an account belonging to Individual B. 4

      26.    Victim 2 also provided a copy of a receipt sent by Individual A to “D.B

HENKEL” at an address in Traverse City, Michigan, for payments made in reference

to the sale of the George Ault painting, and included a reference to these wire

transfers.




4 According to bank records, Individual B received proceeds from paintings sold by DONALD
HENKEL and Catherine Allen. According to an open source database, on September 26,
2016, Individual B sold a house in Ormond Beach, Florida to Catherine Allen. The mortgage
is listed as being held by a private party vendor.
                                           8
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       27.    According to e-mail records provided by Victim 2, Victim 2 became

concerned about the authenticity of the painting and contacted Individual A

regarding those concerns. On September 28, 2017, Individual A responded in an e-

mail that Individual A hoped to provide additional detail on the provenance once

“D.B” had spoken with his father. In an e-mail dated November 4, 2017, Victim 2

indicated the piece was not listed in the works provided by the artist in his papers at

the archives of American Art. Victim 2 further stated they had a negative report from

one conservator who had examined the painting. According to an interview with

Victim 2 on January 8, 2020, the conservator believed the painting was made in

acrylic paint, a paint type not of the period when the painting was purportedly

painted. According to the same interview, Victim 2 had taken the painting to another

conservator who believed the painting was not painted in acrylic. Individual A

responded on the same date, November 4, 2017, stating there were two dueling

“restorers”: 5 one who was convinced of the painting’s authenticity and one who was

doubtful, and encouraged Victim 2 to move forward with “the total conviction that it

is right, completely right . . . .” In an e-mail dated February 12, 2018, Victim 2 stated

her concerns: “one conservator says that the paint is consistent with what Ault used;

the other says that it’s a modern forgery because the paint is soluble (???)”. According

to the January 8, 2020 interview with Victim 2, Victim 2 had a third conservator




5Although Individual A used the term “restorer” in his e-mail, based on the timing, context,
and content of the e-mail, it appears he was referring to the two conservators described above.
                                              9
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examine the painting who did not comment on the paint type, but did think that the

application of the paint was strange, almost as if it had been stenciled.

         28.    Victim 2 hired Art Analysis & Research to conduct a specific test called

a binding media analysis. According to this report, the scientific examination of the

paint binding materials revealed the materials were plausible for a painting dated

1938. 6 The report further stated that the binding materials are not diagnostic for that

time period as the range of materials analyzed have remained in continuous use. In

an e-mail dated March 26, 2019, a representative of Art Analysis & Research

indicated the analysis had been done but was not helpful for dating the painting. In

this e-mail, a representative of Art Analysis & Research stated the test tentatively

detected the yellow pigment “Hansa yellow,” which was unusual but not anomalous.

The representative further stated that while the pigment could have been available

in 1938 its use picked up over a decade later.

                3.      HENKEL sold a painting purportedly by Gertrude
                        Abercrombie to Victim 1 for $93,750

         29.    According to records provided by Representative A of Victim 1, in or

around March 2019, DONALD HENKEL contacted Representative A of Victim 1

regarding his interest in consigning a painting in his possession purportedly by

Gertrude Abercrombie, titled “Coming Home.” According to e-mail records, DONALD




6   The painting in question is signed “G.C. Ault ‘38” suggesting it was painted in 1938.
                                               10
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HENKEL communicated through e-mail address dbhenkel77@yahoo.com and

provided telephone number 734-366-6697.

      30.    According to telephone records, telephone number 734-366-6697 is held

by TracFone Wireless, Inc., a pre-paid, no contract vendor, and no subscriber

information is available.

      31.    According      to   internet        provider   records,   e-mail   address

dbhenkel77@yahoo.com is registered to a “D.b. Henkel”.

      32.    According to e-mail records provided by Representative A of Victim 1,

on April 16, 2019, DONALD HENKEL provided the provenance of the painting,

stating he got it from Thomas Sullivan from Cleveland Ohio, who got it from the

estate of the original owners, Henry Schultz and his wife Mary, about 10 years ago.

      33.    According to records provided by Representative A of Victim 1, on April

14, 2019, Representative A told HENKEL the painting could sell for an estimate of

$20,000-$40,000. E-mail address dbhenkel77@yahoo.com, attributed to HENKEL,

responded on the same date, agreeing to the estimate and stating he would ship the

painting tomorrow.

      34.    According to FedEx shipping records, on April 15, 2019, HENKEL

shipped the package with the return address of the Ann Arbor address owned by

Mark Henkel, to Representative A of Victim 1. Shipping records indicate a declared

value of $1,000 on the item.




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      35.    According to records provided by Representative C of Victim 1, the

painting was sold at auction on May 22, 2019 for $93,750. According to records

provided by Representative C of Victim 1, on June 26, 2019, Victim 1 sent the

proceeds via a wire transfer of $66,375 to SunTrust Bank account 0683.

      36.    According to bank records, SunTrust Bank account 0683 was opened on

June 13, 2019 by DONALD HENKEL. The HENKEL Phone is one of the telephone

numbers identified for SunTrust customer DONALD HENKEL.

      E.     Catherine Allen, who appears to have been financially
             supported by HENKEL, sold one of the likely forged paintings in
             June 2018

      37.    According to records provided by Representative A of Victim 1, in or

around March 2018, Catherine Allen sent a letter to Victim 1 regarding her interest

in consigning a painting in her possession purportedly by George Ault, titled “Hilltop

Farm.” The letter indicated the painting was acquired from a family member who

lived in Buffalo, New York.

      38.    The letter provided an address in Ormond Beach, Florida, and telephone

number 386-290-7196. According to an internet search, the address resolves to a UPS

Store. According to records obtained by law enforcement, telephone number 386-290-

7196 is used by a prepaid customer whose service started on March 6, 2017 and is not

associated with any subscriber information.

      39.    According to records provided by Representative A of Victim 1, the

painting was sold at auction on May 23, 2018, for $38,000. According to records

provided by Representative A of Victim 1, the proceeds were sent in two wire
                                     12
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transfers on June 22, 2018: one to Allen for $25,950 and one to Individual B for

$8,000.

      40.    According to bank records, Allen, using a JP Morgan account ending in

1860, received a $25,950 wire transfer from Victim 1 on June 22, 2018. According to

bank records, this account was opened on July 9, 2014 by Allen.

      41.    According to telephone records, between March 9, 2018 and May 23,

2018, Victim 1 had approximately four telephone contacts with 386-290-7196, the

number provided by Allen. According to telephone records, on May 24, 2018,

telephone number 386-290-7196 contacted the owner of Victim 1, on a call that lasted

approximately 5 minutes. On the same date, telephone number 386-290-7196

contacted the HENKEL Phone on a call that lasted approximately 14 minutes. Based

on the timing calls, I believe that HENKEL may have been discussing the sale to

Victim 1 with Allen.

      42.    According to a report by a Michigan Child Protective Services employee

filed with the FBI on September 4, 2012, Catherine Allen and DONALD HENKEL

have a child together. According to bank records, in or around April and August 2019,

checks were drawn on Henkel’s Chemical Bank account ending in 9410, with memo

lines referencing the child’s school payment. Similarly, according to bank records,

between June 27, 2016 and August 18, 2016, HENKEL’s Chemical Bank account

ending in 1618 was drawn upon for checks to Allen. On August 18, 2016 a wire




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transfer of $150,000 was drawn on this account to another account, with the

beneficiary listed as Allen.

       F.    William Eatinger sold one of the likely forged paintings in
             December 2018, and sent most of the proceeds to HENKEL

       43.   According to e-mail records provided by a Representative A of Victim 1,

in or around October 2018, Representative D of Victim 1 received an e-mail from

someone using the name Bill Eatinger regarding a painting in his possession that he

wanted to consign for auction. The painting was purportedly by George Ault and

titled “Stacks Up 1st Ave.” The e-mail was signed “Bill Eatinger, Highland Ca,

BUKSX4@AOL.COM, 909-725-7886”.

       44.   According to Verizon records, telephone number 909-725-7886 is

registered to William Eatinger, at an address in Highland, California. The telephone

number has been registered to him since June 30, 2017. According to records obtained

by law enforcement, e-mail address BUKSX4@aol.com is registered to “BILL

EATINGER,” and the phone number provided on the account is 909-725-7886.

       45.   According to e-mail records provided by Representative A of Victim 1,

on December 6, 2018, the following provenance was provided via Eatinger’s e-mail

address: 7

       My father got it from his father, (my grandfather). Who got it from a
       woman, Leila Mechlin, who I believe was an art critic back in the
       day......that’s all I have on the provenance.....




                                        14
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       46.    According to records provided by Representative A of Victim 1, Victim 1

sold the painting to Individual C on December 13, 2018. According to open source

information, Individual C is a renowned expert in American Art. According to a

November 19, 2019 interview with a Representative B of Victim 1, Individual C later

communicated to Representative B of Victim 1 that he believed this painting and one

other he had purchased later, 8 in addition to other Crawford and Ault paintings sold

or in the possession of Victim 1, “did not look right,” which Representative B of Victim

1 understood to mean that Individual C believed they were forgeries.

       47.    Based on telephone records, on December 13, 2018, telephone number

909-725-7886, attributed to Eatinger, was in contact with a representative of Victim

1 at approximately 1:58 p.m. At approximately 2:22pm, 909-725-7886 made a call to

the HENKEL Phone.

       48.    According to records provided by Representative A of Victim 1 and

corroborated by separate bank records, on January 11, 2019, Victim 1 made a wire

transfer to Eatinger’s Wells Fargo Bank account ending in 6778, 9 for $135,000. On

January 14, 2019, that same account sent a wire transfer for $114,750 to HENKEL’s




8Individual C also purchased the George Ault painting consigned by Patrick Gravel, which,
as described below, was later tested. Based on that test, the lab concluded that the painting
could not have been painted in the year in which it was dated.
9 According to a bank record dated August 1, 2017, the Wells Fargo account ending in 6778
was opened as a personal account for sole owner William Eatinger at an address in Highland,
California. A search of California DMV records for the driver’s license number provided by
Wells Fargo revealed that it is registered to William Michael Eatinger, at the same address
in Highland, California.
                                             15
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Chemical Bank account ending in 1618, with the description “PAYMENT OF

ARTWORK.” According to records provided by Representative A of Victim 1 and

corroborated by separate bank records, on January 22, 2019, Victim 1 made a second

wire transfer to Eatinger’s account ending in 6778, for $135,000. According to bank

records, on February 5, 2019, that account sent HENKEL’s account ending in 1618 a

second wire transfer, for $114,750 with the description “PAYMENT OF ARTWORK”.

          G.     William Eatinger has also sold sports memorabilia and given the
                 majority of the proceeds to HENKEL and Mark Henkel

          49.    According to records provided by Victim 4, on December 27, 2017,

William Eatinger entered into a contract to sell a Babe Ruth Model 125 Bat at an

auction occurring over two days on February 24-25, 2018. The item sold for $60,000

with $1,320 subtracted from the total for “grading fees,” and commission for the

auctioneer taken out. According to Wells Fargo records, on April 11, 2018, Eatinger

received a check from Victim 4 for $52,680. According to Wells Fargo records, on April

17, 2018, Eatinger wrote Mark Henkel 10 a check for $5,500. On April 17, 2018,

Eatinger purchased a bank check or draft for $39,288. According to Chemical Bank

records, on April 19, 2018, DONALD HENKEL deposited a cashier’s check for

$39,278. 11 In total, Eatinger gave Mark Henkel and DONALD HENKEL

approximately 85% of the proceeds of that sale.


10As set forth above, Mark Henkel appears to be the brother of DONALD HENKEL, and the
painting purportedly by Ralston Crawford sold by DONALD HENKEL through Victim 1 in
May 2016 was picked up by Victim 1 at a home owned by Mark Henkel.
11   According to the website for Wells Fargo, the bank charges a $10 fee for cashier’s checks.
                                                16
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      H.     Patrick Gravel sold a forged George Ault painting in May 2019,
             and sent most of the proceeds to HENKEL

      50.    According to e-mail records provided by Representative A of Victim 1, in

February 2019, a person identifying himself as Patrick Gravel and using e-mail

address patrickgrows@gmail.com was in contact with Representative A of Victim 1

regarding a painting in his possession that he wanted to consign for auction. The

painting was purportedly by George Ault and titled “Morning in Brooklyn.” The same

e-mail provided telephone number 804-223-4894.

      51.    Records obtained by law enforcement revealed 804-223-4894 to be a

Google Voice telephone number, not linked to any subscriber information or call detail

records. According to subscriber records, patrickgrows@gmail.com is registered to

Patrick Gravel, with a listed recovery SMS 734-604-5293. According to records

obtained by law enforcement, the registered user for telephone number 734-604-5293

is Patrick Gravel, and the phone number was active since November 28, 2011.

      52.    On March 2, 2019, Patrick Gravel, using the same e-mail address,

provided the following provenance:

      My aunt got it from her 1st husband (Howard Young) when she lived in
      New York. He had gotten it from a college professor named James C.
      Boundreau.

      53.    According to a January 8, 2020 interview with Representative A of

Victim 1, Gravel verbally provided the information that he had received the painting

from his aunt as a housewarming gift. Representative A for Victim 1 asked if Gravel’s

aunt’s name could be used in the provenance, but Gravel did not want to provide it.

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      54.    According to records provided by Representative A of Victim 1, on May

23, 2019, Victim 1 sold the painting for $270,000 to Individual C. According to records

provided by Victim 1, Victim 1 wrote Gravel a check for $238,950.

      55.    According to bank records, on June 28, 2019, a check from Victim 1 for

$238,950 was deposited into a RVA Financial Bank account ending in 1230. According

to records obtained by law enforcement, the RVA Financial Bank account ending in

1230 is registered to Patrick Gravel, at an address in Henrico, Virginia. According to

records obtained by law enforcement, on July 10, 2019, Gravel transferred $23,895.00

(exactly 10% of the proceeds) from his savings account to his checking account with

the note “PAINTING-PATRICK”. On the same day, Gravel drew on the account a

cashier’s check paid to Mark Henkel for $14,200 (approximately 5% of the proceeds).

On July 19, 2019, Gravel drew on the account a cashier’s check paid to DONALD

HENKEL for $200,855 (approximately 85% of the proceeds).

      56.    According to telephone records, telephone number 734-604-5293, the

SMS recovery number associated with Patrick Gravel’s e-mail account, was in contact

with the HENKEL Phone approximately thirteen times between February and July

2019. On May 14, 2019, telephone number 734-604-5293, attributed to GRAVEL, had

an approximately two minute telephone call with a representative of Victim 1. The

next call from telephone number 734-604-5293 was to the HENKEL Phone, for

approximately three minutes.




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      57.    The purchaser of the painting, Individual C, submitted the painting for

scientific testing. According to a December 2019 confidential report from Art Analysis

& Research Inc., the painting was scientifically evaluated. The report stated that the

analysis detected a type of titanium dioxide white, which indicates that the painting

could not have been created until the 1940s. The report further stated that the

pigment used remains available today. The painting contains the signature “G.C.

Ault ‘29” falsely suggesting it was painted in 1929.

      I.     Patrick Gravel also sold sports memorabilia and supplied the
             majority of the proceeds to DONALD HENKEL and Mark Henkel

      58.    According to records provided by Victim 5, Patrick Gravel sold a Lou

Gehrig Professional Model Baseball Bat through an auction run by Victim 5 on

November 15, 2015. The item sold for $120,000, and after commission and a

restoration deduction, Gravel received $101,015.00. According to PNC Bank Records,

on January 4, 2016, Gravel deposited a check from Victim 5 for $101,015.00.

According to PNC Bank records, on January 8, 2016, Gravel wrote checks to Mark

Henkel for $4,000, Kate Gravel-Henkel for $5,370.66, Ian Henkel for $2,000, and a

check for $1,000 to Loch Alpine Sanitary Authority with the memo line containing

Mark Henkel’s Ann Arbor address. According to PNC Bank records, Gravel made two

wire transfers on January 15, 2016, one for $60,000.00 and one for $16,420.00.

According to Chemical Bank records, on January 15, 2016, DONALD HENKEL,

using the account ending in 1618, received a wire transfer in the amount of $60,000

with the note “PATRICK JOSEPH GRAVEL.” According to PNC Bank records, the

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$16,420.00 transfer was made to beneficiary Patricia Gravel-Henkel at 4408 Chris

Lane, Ann Arbor, MI.

      J.    HENKEL, appears to be involved in a current effort by Raymond
            Paparella to sell a painting purportedly by Ralston Crawford

            1.     Paparella attempts to sell a painting purportedly by
                   George Ault to Victim 3, and contacts HENKEL after the
                   prospective buyer identifies it as an “elaborate
                   fabrication.”

      59.   According to records obtained by law enforcement, on August, 21, 2019,

HENKEL, listing the Subject Premises as his return address, mailed a FedEx

Ground package to Raymond Paparella at an address in Boca Raton, Florida.

According to an online search, there is a UPS Store at the address in Boca Raton,

Florida. The package required a direct signature, had a declared value of $1,000,

dimensions of 41”x37”x8”, and a weight of 23.9lbs. The package was received on

August 26, 2019.

      60.   As set forth in Section I.D.1 above (paragraphs 17–19), Victim 3

purchased a Ralston Crawford painting consigned by DONALD HENKEL in 2016.

According to records provided by Representative A of Victim 3, on September 26,

2019, a person identifying himself as Raymond Paparella sent an e-mail via e-mail

address raypapesq@gmail.com to Victim 3 regarding the sale of a painting

purportedly by George Ault, titled “Burghal Barber.” In the e-mail, Paparella

provided the following information on provenance:

      ON the bottom of the frame there is a typed piece of paper that says:
      wedding gift 1929 for Ben and Rosa Epstein given from their dear friend
      Esther Goldsmith. On the front of the painting on the lower center on
                                        20
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      the frame is a brass name plate: Burghal Barber by George C. Ault. The
      painting is in excellent condition. Although attorney - client privilege
      prevents me from providing all information, the painting was obtained
      by my client from the estate of the nephew of the Epsteins.

      61.   According to records obtained by law enforcement, e-mail address

raypapesq@gmail.com has a subscriber of “Ray Pap” and has recovery telephone

number 1-561-699-9219. According to records obtained by law enforcement, telephone

number 561-699-9219 is subscribed to by Raymond Paparella. According to the

website for the Florida Bar Association, raypapesq@gmail.com is the e-mail address

for the Law Firm of Raymond Paparella, LLC.

      62.   According to records provided by Representative A of Victim 3, Victim 3

coordinated the shipment of the painting from Paparella in order to evaluate the

painting for purchase. Representative A of Victim 3 provided receipts for the

shipment of the painting from and back to Paparella. According to those records, the

dimensions of the painting picked up from Paparella were 30”x24”, and the size when

packaged for shipping was 36”x29”x3”. When the painting was returned to Paparella,

the dimensions of the return shipment were 35”x29”x4”, which are comparable to

those listed in paragraph 59 above.

      63.   According to records provided by Representative A of Victim 3, on

November 12, 2019, Victim 3 sent Paparella an e-mail indicating the painting was

evaluated by two conservators who asserted the painting “is not what it is supposed

to be” and that Victim 3 believed the painting was “an elaborate fabrication.”

According to telephone records, on the same date, November 12, 2019, phone records

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indicate telephone number 561-699-9219, used by Paparella, had an approximately

40-minute telephone call with the HENKEL Phone.

      64.   The HENKEL Phone was in contact with 561-699-9219, used by

Paparella, approximately 67 times between August 2019 and January 2020.

            2.     Paparella is currently attempting to consign a painting
                   purportedly by Ralston Crawford with Victim 1

      65.   In approximately October 2019, Paparella contacted Representative E

of Victim 1 to sell a painting purportedly by Ralston Crawford titled “Flour Mill.”

Representative B of Victim 1 assessed the painting would sell for between $200,000

and $400,000. According to e-mail records provided by Representative B of Victim 1,

Paparella, using e-mail address raypapesq@gmail.com.com, indicated he was a

lawyer representing an unnamed client. Paparella provided telephone number 561-

699-9219 and an address in Boca Raton, Florida, belonging to a UPS store. On or

about October 15, 2019, Paparella shipped the painting to Victim 1 for evaluation.

      66.   In a November 19, 2019 interview of Representative B of Victim 1,

Representative B of Victim 1 relayed the provenance as described by Paparella: the

painting was originally owned by Theodore Dillaway of Philadelphia, and was given

to Charles Barnes and Florence Barnes in 1942 in Philadelphia and then passed to

nephew Kay Landers in 1987 and to the present owners in 1998. Paparella said his

clients acquired the painting from a private estate at that time. According to

Representative F of Victim 1, Victim 1 ended up returning the painting to Paparella.



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        67.   On April 24, 2020, Paparella, using raypapesq@gmail.com, e-mailed

Representative F of Victim 1 regarding consigning the same Ralston Crawford

painting. On April 29, 2020, telephone number 561-699-9219, used by Paparella,

exchanged six text messages with the HENKEL Phone.

        68.   On April 30, 2020, Representative F of Victim 1 placed a consensually

recorded telephone call to Paparella at 561-699-9219 regarding the sale of the same

Ralston Crawford painting. Representative F of Victim 1 placed the telephone call at

approximately 3:30 p.m. UTC. 12 During the call, Paparella clarified he was not selling

the painting on behalf of his client, but that his client had given it to him.

Representative F of Victim 1 asked to review the provenance of the painting with

Paparella. Paparella asked Representative F of Victim 1 to call him back in

approximately 5 to 10 minutes so that he could review his notes. The call concluded

at approximately 3:43 p.m. UTC.

        69.   According to records obtained by law enforcement on April 30, 2020, at

approximately 3:44 p.m. UTC, telephone number 561-699-9219, used by Paparella,

called the HENKEL Phone. The call lasted approximately 2 minutes and 30 seconds.

        70.   At approximately 3:49 p.m. UTC, Representative F of Victim 1 called

Paparella again at 561-699-9219, and spoke with him until approximately 4:11 p.m.




 Because the underlying records are in a variety of time zones, I have converted all times to
12

Universal Coordinated Time, which is 5 hours ahead of Central Daylight Time.
                                             23
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UTC. During the call, Paparella provided the provenance of the painting, consistent

with his earlier statement to Representative E of Victim 1.

        71.   At approximately 4:44 p.m. UTC, Paparella again called the HENKEL

Phone. The call that lasted approximately 18 minutes. At 5:04 p.m. UTC, telephone

number 561-699-9219, attributed to PAPARELLA, again called the HENKEL Phone.

The call lasted approximately 20 minutes.

        72.   According to telephone records, between April 30 and May 14, telephone

number 561-966-9219 and the HENKEL Phone, exchanged approximately 121 text

messages and approximately 9 telephone calls.

        73.   Pursuant to a search warrant, law enforcement obtained the content of

some text messages sent by the HENKEL Phone between May 12, 2020, and June 1,

2020. The messages sent by 561-699-9219 to the HENKEL Phone could not be read

by law enforcement. 13

        74.   Messages sent from the HENKEL Phone to 561-699-9219 were readable

by law enforcement. For example, at approximately 15:49 UTC on May 30, 2020,

HENKEL sent Paparella a text message: “Did you have any follow up on that piece

yesterday.” The previous day, May 29, 2020, Paparella had e-mailed Victim 1 stating

that he would not provide the name of the client who gave him the painting



13The message appears as a series of numbers, letters and backslashes and other characters.
Verizon stated the messages could be emojis, gif images, or contact from some Android or
Samsung devices. Law enforcement obtained records between May 12 to May 20, 2020, May
27, 2020, and June 1, 2020, resulting in approximately 84 messages from PAPARELLA that
could not be read by law enforcement.
                                            24
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purportedly by Ralston Crawford. The HENKEL Phone and 561-699-9219 had two

conversations totaling approximately 30 minutes on May 29, 2020. 14

          75.    Based on my training and experience, I know that text messages sent

and received are commonly stored in the memory of the cellular phones that sent or

received them, unless the user specifically deletes the text messages. I therefore

believe that the content of the text message sent from Paparella to the HENKEL

Phone will likely be stored in the HENKEL Phone. As set forth below, HENKEL

appears to keep the HENKEL Phone at the Subject Premises when HENKEL is

there.

          K.     HENKEL may be forging paintings and sports memorabilia at
                 the Subject Premises

          76.    HENKEL appears to reside at the Subject Premises. According to a

law enforcement database containing property records, HENKEL and Catherine

Allen own the Subject Premises. According to Chemical Bank records, on January

17, 2019, a check was drawn on from HENKEL’s account ending in 1618 to a propane

supplier with memo line “Propane 9169 Hoxie”. According to Chemical Bank records,

on April 25, 2018, a check was drawn from HENKEL’s account ending in 1618 to

Leelanau County Treasurer with memo line “Taxes 004-029-021-50”. According to

Leelanau County Property Records, parcel 004-029-021-50 is owned by DONALD




14   Based on their local time zone.
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HENKEL and Catherine Allen. As set forth in more detail below, the HENKEL Phone

has routinely been located in the vicinity of the Subject Premises.

        77.    On June 19, 2020, at approximately 8:27am EDT, the FBI observed a

male, consistent with the appearance of DONALD HENKEL in his Michigan driver’s

license photograph, bringing his trash can down the driveway at the Subject

Premises.

        78.    On June 10, 2020, FBI obtained and served a warrant and order to

identify the location of the HENKEL Phone. According to information provided by

the service provider, Verizon, 13 out of 15 nights observed between June 10 and June

25, 2020, placed the last location of the telephone of the night (local time) at a location

consistent with address 9169 E. Hoxie Rd, Cedar, Michigan –The Subject Premises. 15

        79.    For example, on June 21, 2020, at 9:24 p.m. EDT, the telephone was

located at this location. At 9:56 p.m. EDT, the ping failed to locate the telephone,

indicating the telephone was shut off or was otherwise out of service. At 6:34 a.m. the

next day, the reported location of the phone was again consistent with the Subject


15 Based on my training and experience and the training and experience of agents familiar
with cellular telephone location information with whom I have consulted, cellular telephone
companies will report location information based on a variety of sources. These include
information about the phone’s location report by telephone, as well as information generated
by the cellular telephone network, including the particular tower and tower-sector that the
phone is connected to and signal strength. Different methods of determining the phone’s
location result in different zones of uncertainty around the phone’s reported location. While
this information is generally reliable, it is possible that the report location may be inaccurate.
In this case, because the location reported by the service provider is consistent with
HENKEL’s known address, and because an FBI Agent observed HENKEL at the Subject
Premises consistent with the reported location of the HENKEL Phone, I believe that the
location information is accurate.
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Premises. An image depicting the location and radius of uncertainty reported by the

telephone   company    for   June   21,   2020   at   9:24   EDT    appears   below:




      80.    As described above, HENKEL has previously listed his employer as

“retired artist” on bank records. Similarly, according to an article available online

and published on September 28, 2012, in “The Rapidian,” a man name “D.B.

HENKEL” was interviewed, identified himself as an artist, and indicated that he

studied art in college. As explained above, HENKEL and Catherine Allen (who, as

set forth above, appears to be financially supported by HENKEL) have received the

overwhelming majority of the proceeds from the artwork sales.




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      81.    According to PayPal records, HENKEL, using the name DONAVAN

KELLY, has spent nearly $1,500 on supplies from a company called “Natural

Pigments,” which, according to its website, specializes in “supplying artists’ materials

that were used in historical painting since prehistoric times up to and including the

nineteenth century.”

      82.     According to PayPal records, between January 2016 and January 2020,

accounts tied to DBHenkel77@yahoo.com made approximately 191 internet

purchases. According to PayPal records, these purchases include a “vintage worth

little league baseball,” vintage pens from the 1950s, 1960s, and 1970s, Babe Ruth

1933 and 1949 reprint baseball cards, a baseball bat blank, a 1934-1939 William

Harridge baseball, and a Joe Jackson-signed baseball bat. On May 29, 2020, FBI

conducted a trash cover of the Subject Premises. On that date, Agents recovered a

November 29, 1990 “Sotheby’s American Paintings, Drawings and Sculpture” auction

catalog. Several images within this magazine contain a handwritten note of numbers.

A July, 1932 “The American Magazine of Art” was also recovered, and contained

several highlighted portions. A cover of a June 1935 “The American Magazine of Art”

was recovered with handwritten notes on it. A cover of July 1929 “The American

Magazine of Art” was also recovered. The time period and subject matter of these

publications is consistent with the purported time period and subject matter of the

forged and likely forged paintings described in more detail below. In addition, agents

found a container of “Japan Drier” marked “Speeds up Dry Time, Use in Oil-based


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Paint, Enamel & Varnish” and a jar of what was described by agents as smelling like

turpentine, a material often used in oil painting.

      83.    On June 5, 2020, FBI conducted a trash cover of the Subject Premises

and recovered paper towels and a water bottle cut in half - both with what appeared

to be paint residue on them.

      84.    On June 19, 2020, FBI conducted a trash cover of the Subject Premises

and recovered sandpaper, paper plates which appeared to have paint on them, two

jars containing unknown substances, yellow tape, an empty tube of “kwik wood,” a

newspaper clipping regarding information on baseball player Willie Mays stamped

with the date April 16, 1961, a piece of cardboard with a sketch of what appears to be

a human figure, and torn up piece of paper that, when assembled, resembled an image

of a baseball bat and an image of an old identification card.

II.   SPECIFICS REGARDING SEARCHES OF ELECTRONIC STORAGE
      MEDIA

      85.    As described above and in Attachment B-1, this application seeks

permission to search for records that might be found in the Subject Premises, in

whatever form they are found. As described above and in Attachment B-2, this

application also seeks to search for records in HENKEL’s possession. One form in

which the records might be found is data stored in a cell phone’s memory, on a

computer’s hard drive, or in other storage media. Thus, the warrant applied for would

authorize the seizure of electronic storage media or, potentially, the copying of

electronically stored information, all under Rule 41(e)(2)(B).

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      86.    Probable cause.   I submit that if a cell phone, computer or storage

medium is found on the Subject Premises, there is probable cause to believe those

records will be stored on that computer or storage medium, for at least the following

reasons:

             a.    Based on my training and experience and discussions with agents

who have substantial experience investigating crimes similar to those alleged here, I

know that individuals involved in creating fraudulent artwork and sports

memorabilia commonly use computers, cell phones, hard drives, and other electronic

equipment and storage devices to catalogue, research, communicate about, store

information about, and execute their fraudulent schemes. For example, as set forth

above, HENKEL communicated by text messages with co-conspirators, by e-mail with

victims, and ordered supplies through online retailers.

             b.    Based on my knowledge, training, and experience, I know that

electronic files or remnants of such files can be recovered months or even years after

they have been downloaded onto a storage medium, deleted, or viewed via the

Internet. Electronic files downloaded to a storage medium can be stored for years at

little or no cost. Even when files have been deleted, they can be recovered months or

years later using forensic tools. This is so because when a person “deletes” a file on

a computer, the data contained in the file does not actually disappear; rather, that

data remains on the storage medium until it is overwritten by new data.




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             c.     Therefore, deleted files, or remnants of deleted files, may reside

in free space or slack space—that is, in space on the storage medium that is not

currently being used by an active file—for long periods of time before they are

overwritten. In addition, an electronic device’s operating system may also keep a

record of deleted data in a “swap” or “recovery” file.

             d.     Wholly apart from user-generated files, computer storage

media—in particular, electronic devices’ internal hard drives—contain electronic

evidence of how an electronic device has been used, what it has been used for, and

who has used it. To give a few examples, this forensic evidence can take the form of

operating system configurations, artifacts from operating system or application

operation, file system data structures, and virtual memory “swap” or paging files.

Electronic device users typically do not erase or delete this evidence, because special

software is typically required for that task. However, it is technically possible to

delete this information.

             e.     Similarly, files that have been viewed via the Internet are

sometimes automatically downloaded into a temporary Internet directory or “cache.”

      87.    Based upon my training and experience, and the training and

experience of specially trained personnel whom I have consulted, searches of evidence

from electronic storage media commonly require agents to download or copy

information from the electronic storage media and their components, or remove most

or all electronic storage media items (e.g. computer hardware, computer software,


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computer related documentation, and cellular telephones) to be processed later by a

qualified computer expert in a laboratory or other controlled environment. This is

almost always true because of the following:

             a.     Electronic storage media can store the equivalent of thousands of

pages of information. Especially when the user wants to conceal criminal evidence,

he or she often stores it with deceptive file names. This requires searching authorities

to examine all the stored data to determine whether it is included in the warrant.

This sorting process can take days or weeks, depending on the volume of data stored,

and it would be generally impossible to accomplish this kind of data search on site.

             b.     Searching electronic storage media for criminal evidence is a

highly technical process requiring expert skill and a properly controlled environment.

The vast array of computer hardware and software available requires even computer

experts to specialize in some systems and applications, so it is difficult to know before

a search which expert should analyze the system and its data. The search of an

electronic storage media system is an exacting scientific procedure which is designed

to protect the integrity of the evidence and to recover even hidden, erased,

compressed, password protected, or encrypted files. Since electronic storage media

evidence is extremely vulnerable to tampering or destruction (which may be caused

by malicious code or normal activities of an operating system), the controlled

environment of a laboratory is essential to its complete and accurate analysis.




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       88.   In order to fully retrieve data from a computer system, the analyst needs

all storage media as well as the computer. The analyst needs all the system software

(operating systems or interfaces, and hardware drivers) and any applications

software which may have been used to create the data (whether stored on hard disk

drives or on external media).

       89.   In addition, electronic storage media such as a computer, its storage

devices, peripherals, and Internet connection interface may be instrumentalities of

the crime(s) and are subject to seizure as such if they contain contraband or were

used to carry out criminal activity.

III.   PROCEDURES TO BE FOLLOWED IN SEARCHING ELECTRONIC
       STORAGE MEDIA

       90.   Pursuant to Rule 41(e)(2)(B) of the Federal Rules of Criminal Procedure,

this warrant will authorize the removal of electronic storage media and copying of

electronically stored information found at the places described in Attachments A-1

and A-2 so that they may be reviewed in a secure environment for information

consistent with the warrant. That review shall be conducted pursuant to the following

protocol.

       91.   The review of electronically stored information and electronic storage

media removed from the places described in Attachments A-1 and A-2 may include

the following techniques (the following is a non-exclusive list, and the government

may use other procedures that, like those listed below, minimize the review of

information not within the list of items to be seized as set forth herein):

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             a.     examination of all the data contained in such computer hardware,

computer software, and/or memory storage devices to determine whether that data

falls within the items to be seized as set forth in Attachments B-1 or B-2;

             b.     searching for and attempting to recover any deleted, hidden, or

encrypted data to determine whether that data falls within the list of items to be

seized as set forth in Attachments B-1 and B-2 (any data that is encrypted and

unreadable will not be returned unless law enforcement personnel have determined

that the data is not (1) an instrumentality of the offenses, (2) a fruit of the criminal

activity, (3) contraband, (4) otherwise unlawfully possessed, or (5) evidence of the

offenses specified above);

             c.     surveying file directories and the individual files they contain to

determine whether they include data falling within the list of items to be seized as

set forth in Attachments B-1 and B-2;

             d.     opening or reading portions of files, and performing key word

searches of files, in order to determine whether their contents fall within the items to

be seized as set forth in Attachments B-1 and B-2.

      92.    The government will return any electronic storage media removed from

the places described in Attachments A-1 and A-2 within 30 days of the removal

unless, pursuant to Rule 41(c)(2) or (3) of the Federal Rules of Criminal Procedure,

the removed electronic storage media constitutes an instrumentality of crime, or

unless otherwise ordered by the Court.


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IV.    CONCLUSION

       93.   Based on the above information, I respectfully submit that there is

probable cause to believe that mail and wire fraud offenses, in violation of Title 18,

United States Code, Sections 1341 and 1343, have been committed, and that

evidence, instrumentalities, and fruits relating to this criminal conduct, as further

described in Attachments B-1 and B-2, will be found in the Subject Premises, as

further described in Attachment A-1, and on the person of DONALD HENKEL, as

further described in Attachment A-2. I therefore respectfully request that this Court

issue a search warrant for the single family home and barn located at 9169 E. Hoxie

Rd, Cedar, MI 49621, more particularly described in Attachment A-1, authorizing the

seizure of the items described in Attachment B-1, pursuant to the protocol described

in the addendum to Attachment B-1. I further respectfully request that this Court

issue a search warrant for the person of DONALD HENKEL, more particularly

described in Attachment A-2, authorizing the seizure of the items described in

Attachment B-2, pursuant to the protocol described in the addendum to Attachment

B-2.

       94.   Finally, I plan on executing the search of the Subject Premises in

conjunction with simultaneous interviews in multiple time zones. For this reason, I

anticipate that the search of the Subject Premises will not begin until

approximately 11 a.m. Eastern Time. Given the size of the Subject Premises and

the nature of the items to be seized (in particular, artwork) it is possible that law

enforcement will not complete execution of the search warrant for the Subject
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Premises on the day execution begins. In the event that any occupant of the Subject

Premises is unable to return and in need of lodging, the FBI will make arrangements

at the FBI’s expense.




                                        36
